        Case 3:07-cv-05944-JST Document 2891 Filed 10/02/14 Page 1 of 5



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11
                                  UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14

15
   In re: CATHODE RAY TUBE (CRT)                        Case No. 07-5944 SC
16 ANTITRUST LITIGATION
                                                        MDL No. 1917
17
                                                        STIPULATION AND [PROPOSED]
18                                                      ORDER REGARDING DISCOVERY TO
     This Document Relates to:                          OCCUR AFTER SEPTEMBER 5, 2014
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20 Dell Inc. and Dell Products L.P. v. Hitachi, Ltd.,
   No. 3:13-cv-02171-SC
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     SMRH:432352524.1                                     STIPULATION AND [PROPOSED] ORDER RE DISCOVERY
        Case 3:07-cv-05944-JST Document 2891 Filed 10/02/14 Page 2 of 5



 1                      Defendants Samsung SDI Mexico, S.A. de C.V. (“SDI Mexico”) and LG

 2 Electronics, Inc. (“LGE”) (together, “Defendants”) and Plaintiffs Dell Inc. and Dell Products L.P.

 3 (“Plaintiffs”) have conferred by and through their counsel and, subject to the Court’s approval,

 4 HEREBY STIPULATE AS FOLLOWS:

 5                      WHEREAS, September 5, 2014 was the deadline to complete fact discovery in the

 6 above-captioned action;

 7                      WHEREAS, on August 1, 2014, SDI Mexico served its First Set of Interrogatories

 8 (“SDI Mexico’s Interrogatories”) on Plaintiffs;

 9                      WHEREAS, on August 1, 2014, Defendants served their First Set of Requests for

10 Admission (“Defendants’ Requests for Admission”) on Plaintiffs;

11                      WHEREAS, on August 1, 2014, Defendants served their First Set of Requests for

12 Production of Documents (“Defendants’ Document Requests”) on Plaintiffs;

13                      WHEREAS, on September 5, 2014, Plaintiffs served objections and responses to

14 the above-described discovery;

15                      WHEREAS, Defendants and Plaintiffs have conferred in good faith and agreed that

16 Plaintiffs will serve supplemental responses to Defendants’ Request for Admission Nos. 12-25,

17 35-42 and 44-80, and SDI Mexico’s Interrogatory No. 20, no later than September 26, 2014;

18                      WHEREAS, Defendants and Plaintiffs have conferred in good faith and agreed that

19 Plaintiffs will conduct a reasonable search and inquiry for agreements between any assigning

20 entity and any CRT product manufacturer related to purchases of CRT products during the

21 relevant period, in response to Defendants’ Document Request Nos. 1 and 5; and

22                      WHEREAS, Plaintiffs will inform Defendants as to the results of Plaintiffs’ search,

23 but are not waiving any objections that Plaintiffs have asserted in response to Defendants’

24 Document Requests Nos. 1 and 5;

25                      NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between

26 counsel for the undersigned parties as follows:

27                      1.     Plaintiffs will serve supplemental responses to Defendants’ Requests for

28 Admission Nos. 12-25, 35-42 and 44-80, and SDI Mexico’s Interrogatory No. 20, no later than

                                                        -1-
     SMRH:432352524.1                                           STIPULATION AND [PROPOSED] ORDER RE DISCOVERY
        Case 3:07-cv-05944-JST Document 2891 Filed 10/02/14 Page 3 of 5



 1 September 26, 2014;

 2                      2.     To the extent Defendants wish to file a motion to compel with respect to

 3 item 1 above, or with respect to Defendants’ Document Request Nos. 1 and 5, they will do so no

 4 later than October 3, 2014.

 5                      The undersigned parties respectfully request that this stipulation be entered as an
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 6 Order of the Court.                                                        TES D      TC
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 8 PURSUANT TO STIPULATION, IT IS SO ORDERED.




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         October 2, 2014
11 Dated:___________________                          ___________________________________




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12                                                             Hon. Samuel
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     SMRH:432352524.1                                            STIPULATION AND [PROPOSED] ORDER RE DISCOVERY
        Case 3:07-cv-05944-JST Document 2891 Filed 10/02/14 Page 4 of 5



 1 Dated: September 12, 2014             By:      /s/ Tyler M. Cunningham

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     SMRH:432352524.1                               STIPULATION AND [PROPOSED] ORDER RE DISCOVERY
        Case 3:07-cv-05944-JST Document 2891 Filed 10/02/14 Page 5 of 5



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14                                                    Attorneys for Plaintiffs Dell Inc. and Dell Products
15                                                    L.P.

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17                      Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of
18 this document has been obtained from each of the above signatories.

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     SMRH:432352524.1                                             STIPULATION AND [PROPOSED] ORDER RE DISCOVERY
